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                         COMMONWEALTH OF MASSACHUSETTS

NANTUCKET, ss.                                           SUPERIOR COURT DEPARTMENT
                                                                  OF THE TRIAL COURT

__________________________________________
KATHERINE JETTER, and                      )
KATHERINE JETTER LTD. d/b/a THE            )               NOTICE OF FILING OF
VAULT NANTUCKET,                           )               REMOVAL OF ACTION
                                           )               TO FEDERAL COURT
                  Plaintiffs,              )
                                           )
v.                                         )               Civil Action No. 2575-cv-00021
                                           )
BOUTIQUE TERE, INC. d/b/a MARISSA          )
COLLECTIONS, JAY HARTINGTON,               )
MARISSA HARTINGTON, and                    )
BURT HARTINGTON                            )
                                           )
                  Defendants.              )

       TO:     Civil Clerk of the Superior Court
               Nantucket County Superior Court
               16 Broad Street
               Nantucket, MA 02544

                       NOTICE OF FILING NOTICE OF REMOVAL

       PLEASE TAKE NOTICE that pursuant to 28 U.S.C. § 1441 and 1446, on May 23, 2025,

Defendants Boutique Tere, Inc., d/b/a Marissa Collections (“Marissa Collections”), Jay

Hartington, Marissa Hartington, and Burt Hartington (collectively, “Defendants”), filed a Notice

of Removal of the above-captioned action in the United States District Court for the District of

Massachusetts. The Notice of Removal removes the action from the Commonwealth of

Massachusetts, Nantucket County Superior Court of the Trial Court, to the United States District

Court for the District of Massachusetts. Copies of the Notice of Removal and a Notice to Counsel

of Removal are attached hereto as Exhibits 1 and 2. Pursuant to 28 U.S.C. § 1446(d), this state

action shall proceed no further.
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                                            Respectfully Submitted,

                                            BOUTIQUE TERE, INC. d/b/a MARISSA
                                            COLLECTIONS, JAY HARTINGTON,
                                            MARISSA HARTINGTON, and
                                            BURT HARTINGTON,

                                            By their Attorneys,


                                            /s/ Damien M. DiGiovanni
                                            Damien M. DiGiovanni (BBO No. 682005)
                                            Jeffrey T. Collins (BBO No. 640371)
                                            Brendan T. Sweeney (BBO No. No. 703992)
                                            MORGAN, BROWN & JOY, LLP
                                            28 State Street, 16th Floor
                                            Boston, MA 02109-2605
                                            (617) 523-6666
                                            ddigiovanni@morganbrown.com
                                            jcollins@morganbrown.com
                                            bsweeney@morganbrown.com

DATED: May 23, 2025


                               CERTIFICATE OF SERVICE

        I, Brendan T. Sweeney, hereby certify that a copy of the within pleading was served by
electronic mail upon counsel at the addresses below this 23rd day of May, 2025:

       Aliki Sofis, Esq.
       Kathleen Marini, Esq.
       John F. Ferraro, Esq.
       Quinn Emanuel Urquhart & Sullivan, LLP
       111 Huntington Ave, Suite 520
       Boston, MA 02199
       (617) 712-7100
       alikisofis@quinnemanuel.com
       katheleenmarini@quinnemanuel.com
       johnferraro@quinnemanuel.com


                                                    /s/ Brendan Sweeney
                                                    Brendan T. Sweeney




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